                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                              Magistrate Judge Scott T. Varholak

Civil Action: 24-cv-00968-GPG-STV                           Date: March 20, 2025
Courtroom Deputy: Sonia Chaplin                             FTR – Reporter Deck-Courtroom A402

 Parties:                                                     Counsel:

 EZAMIKA BROWN                                                Madeline Leibin

      Plaintiffs,

 v.

 MARQUEZ, et al.,

      Defendants.


                         COURTROOM MINUTES/MINUTE ORDER

STATUS CONFERENCE
Court in session:    9:12 a.m.
Court calls case. Appearance of counsel and Mr. Brown. Counsel for Defendants has failed to
appear.

This matter is before the Court for a status of the case.

Statements by counsel.

For the reasons stated on the record, it is:

ORDERED:                A Status Conference is set for May 21, 2025 at 10:30 a.m. in Courtroom
                        A 402 before Magistrate Judge Scott T. Varholak.

                        Future failures to appear by Defendant’s counsel may result in a
                        recommendation of default judgment.



HEARING CONCLUDED.
Court in recess:     9:15 a.m.
Total time in court: 00:03
To order transcripts of hearings, please contact either Patterson Transcription Company at (303)
755-4536 or AB Litigation Services at (303) 629-8534.
